        Case 9:18-cr-00017-DLC Document 16 Filed 05/15/18 Page 1 of 9




CYNDEE L. PETERSON
Assistant U.S. Attorney
U.S. Attorney's Office
P.O. Box 8329
Missoula, MT 59807
105 East Pine Street, 2nd Floor
Missoula, MT 59801
Phone:      (406) 542-8851
FAX:        (406) 542-1476
Email:      Cyndee.Peterson@usdoj.gov

ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                 CR 18-17-M-DLC

              Plaintiff,                   PLEA AGREEMENT

       vs.

 ROBERTO CRUZ SISNEROS
 aka Roberto Cruz Cisneros,

              Defendant.


      Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the United

States of America, represented by Cyndee L. Peterson, Assistant United States

Attorney for the District of Montana, and the defendant, Robert Cruz Sisneros, and

the defendant's   attorney,~           have agreed upon the following:
                           ft~ A-Ct 70I/


(21
CL
             tlc
             DEF
                 l!fJ/
                 ATTY                                                      Page 1
            Case 9:18-cr-00017-DLC Document 16 Filed 05/15/18 Page 2 of 9




          1.     Scope: This plea agreement is between the United States Attorney's

    Office for the District of Montana and the defendant. It does not bind any other

    federal, state, or local prosecuting, administrative, or regulatory authority, or the

    United States Probation Office.

          2.     Charges: The defendant agrees to plead guilty to the indictment,

    which charges the crime of Illegal Reentry, in violation of 8 U.S.C. § 1326(a) and

    (b ). This offense carries a maximum punishment of 20 years imprisonment, a

    $250,000 fine, 3 years of supervised release, and a $100 special assessment.

          3.     Nature of the Agreement: The parties agree that this plea agreement

    will be governed by Rule 1 l(c)(l)(B), Federal Rules of Criminal Procedure. The

    defendant acknowledges that the agreement will be fulfilled provided the

    government makes the recommendations provided below. The defendant

    understands that even if the Court does not accept or follow the recommendations
/   made by the United States, there will not be an automatic right to withdraw the

    plea. Rule 1 l(c)(3)(B), Federal Rules of Criminal Procedure.

          4.     Admission of Guilt: The defendant will plead guilty because the

    defendant is guilty of the charge contained in the indictment. In pleading guilty,

    the defendant acknowledges that:

          First, the defendant was deported from the United States;

          Second, thereafter, the defendant voluntarily entered the United States;



    ¢/cf                               I    I
                         fP5@      1/lfti
    CLP                 ATTY          ate                                            Page2
        Case 9:18-cr-00017-DLC Document 16 Filed 05/15/18 Page 3 of 9




       Third, at the time of entry the defendant knew he was entering the United
       States;

       Fourth, the defendant was found in the United States without having
       obtained the consent of the Attorney General or the Secretary of the
       Department of Homeland Security to reapply for admission into the United
       States;

       Fifth, the defendant was an alien at the time of the defendant's entry into the
       United States; and

       Sixth, the defendant was free from official restraint at the time he was found
       in the United States.

       5.      Waiver of Rights by Plea:

               (a)    The government has a right to use against the defendant, in a

prosecution for perjury or false statement, any statement given under oath during

the plea colloquy.

               (b)    The defendant has the right to plead not guilty or to persist in a

plea of not guilty.

               (c)    The defendant has the right to a jury trial unless, by written

waiver, the defendant consents to a non-jury trial. The United States must also

consent and the Court must approve a non-jury trial.

               (d)    The defendant has the right to be represented by counsel and, if

necessary, have the Court appoint counsel at trial and at every other stage of these

proceedings.

               (e)    If the trial is a jury trial, the jury would be composed of 12

laypersons selected at random. The defendant and the defendant's attorney would


  ;r Re ltW
CLP  DEF ATTY ~                =:;                                                Page 3
         Case 9:18-cr-00017-DLC Document 16 Filed 05/15/18 Page 4 of 9




have a say in who the jurors would be by removing prospective jurors for cause

where actual bias or other disqualification is shown, or without cause by exercising

peremptory challenges. The jury would have to agree unanimously before it could

return a verdict of either guilty or not guilty. The jury would be instructed that the

defendant is presumed innocent, and that it could not convict unless, after hearing

all the evidence, it was persuaded of the defendant's guilt beyond a reasonable

doubt.

              ( f)   If the trial is held by the judge without a jury, the judge would

find the facts and determine, after hearing all of the evidence, whether or not the

judge was persuaded of the defendant's guilt beyond a reasonable doubt.

              (g)    At a trial, whether by a jury or a judge, the United States would

be required to present its witnesses and other evidence against the defendant. The

defendant would be able to confront those government witnesses and the

defendant's attorney would be able to cross-examine them. In tum, the defendant

could present witnesses and other evidence. If the witnesses for the defendant

would not appear voluntarily, their appearance could be mandated through the

subpoena power of the Court.

              (h)    At a trial, there is a privilege against self-incrimination so that

the defendant could decline to testify and no inference of guilt could be drawn

from the refusal to testify. Or the defendant could exercise the choice to testify.



(%/
 CLP
     Re-
     DEF
                     ,JlljJ
                     ATTY                                                          Page4
       Case 9:18-cr-00017-DLC Document 16 Filed 05/15/18 Page 5 of 9




             (i)    If convicted, and within 14 days of the entry of the Judgment

and Commitment, the defendant would have the right to appeal the conviction to

the Ninth Circuit Court of Appeals for review to determine if any errors were made

that would entitle the defendant to reversal of the conviction.

             G)     The defendant has a right to have the district court conduct the

change of plea hearing required by Rule 11, Federal Rules of Criminal Procedure.

By execution of this agreement, the defendant waives that right and agrees to hold

that hearing before, and allow the Rule 11 colloquy to be conducted by, the U.S.

Magistrate Judge, if necessary.

             (k)   If convicted in this matter, a defendant who is not a citizen of

the United States may be removed from the United States, denied citizenship, and

denied admission to the United States in the future.

      The defendant understands that by pleading guilty pursuant to this

agreement, the defendant is waiving all of the rights set forth in this paragraph.

The defendant's attorney has explained those rights and the consequences of

waiving those rights.

      6.     Recommendations: The United States will recommend the

defendant's offense level be decreased by two levels for acceptance of

responsibility, pursuant to USSG §3El.l(a), unless the defendant is found to have

obstructed justice prior to sentencing, pursuant to USSG §3Cl.1, or acted in any



                    d2»
                    <
                   ATTY                                                        Page 5
       Case 9:18-cr-00017-DLC Document 16 Filed 05/15/18 Page 6 of 9




way inconsistent with acceptance of responsibility. The United States will move

for an additional one-level reduction, pursuant to USSG §3El.l(b), if appropriate

under the Guidelines. The United States will recommend a term of imprisonment

at the low-end of the calculated Guidelines range. The parties reserve the right to

make any other arguments at the time of sentencing. The defendant understands

that the Court is not bound by this recommendation.

      7.     Sentencing Guidelines: Although advisory, the parties agree that the

U.S. Sentencing Guidelines must be applied, and a calculation determined, as part

of the protocol of sentencing to determine what sentence will be reasonable.

      8.     Appeal Waiver - Conditional: The defendant understands that the

law provides a right to appeal and collaterally attack the sentence imposed in this

case. 18 U.S.C. § 3742(a); 28 U.S.C. §§ 2241, 2255. The prosecution has a

comparable right of appeal. 18 U.S.C. § 3742(b). By this agreement the defendant

waives the right to appeal or collaterally attack any aspect of the sentence,

including conditions of probation or supervised release, if the sentence imposed is

within or below the guideline range calculated by the Court, regardless of whether

the defendant agrees with that range. This waiver includes challenges to the

constitutionality of any statute of conviction and arguments that the admitted

conduct does not fall within any statute of conviction. This waiver does not

prohibit the right to pursue a collateral challenge alleging ineffective assistance of



           £<c
             EF
                    ~
                    ATTY                                                        Page 6
          Case 9:18-cr-00017-DLC Document 16 Filed 05/15/18 Page 7 of 9




counsel. The United States waives its right to appeal any aspect of the sentence if

the sentence imposed is within or above the guideline range calculated by the

Court.

         9.     Voluntary Plea: The defendant and the defendant's attorney

acknowledge that no threats, promises, or representations have been made to

induce the defendant to plead guilty, and that this agreement is freely and

voluntarily endorsed by the parties.

         10.    Detention/Release After Plea: Pursuant to 18 U.S.C. § 3143(a)(2),

the defendant acknowledges that the defendant will be detained upon conviction

unless (A)(i) the Court finds there is a substantial likelihood that a motion for

acquittal or new trial will be granted or (ii) this agreement provides that the United

States will recommend that no sentence of imprisonment be imposed and (B) the

Court finds, by clear and convincing evidence, that the defendant is not likely to

flee or pose a danger to any other person or the community. Then, if exceptional

circumstances exist, the defendant may be released upon conditions.

         11.    Immigration Consequences of Guilty Plea: The defendant

recognizes that pleading guilty may have consequences with respect to the

defendant's immigration status if the defendant is not a citizen of the United States.

Although there may be arguments that defendants can raise in immigration




LU&
 CLP
        (tijl
     Ru A'fy   DEF             ¥'it'
                                  ate                                           Page 7
          Case 9:18-cr-00017-DLC Document 16 Filed 05/15/18 Page 8 of 9




proceedings to avoid or delay removal, it is virtually certain that the defendant will

be removed.

         12.   FOIA Waiver: The defendant waives all rights, whether asserted

directly or by a representative, to request or receive from any department or agency

of the United States any records pertaining to the investigation or prosecution of

this case, including without limitation any records that may be sought under the

Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C.

§ 552a.

         13.   Breach: If the defendant breaches the terms of this agreement, or

commits any new criminal offenses between signing this agreement and

sentencing, the U.S. Attorney's Office is relieved of its obligations under this

agreement, but the defendant may not withdraw the guilty plea.

         14.   Entire Agreement: Any statements or representations made by the

United States, the defendant, or defense counsel prior to the full execution of this

plea agreement are superseded by this plea agreement. No promises or

representations have been made by the United States except as set forth in writing

in this plea agreement. This plea agreement constitutes the entire agreement

Ill/

/Ill

I I II




                                                                               Page 8
        Case 9:18-cr-00017-DLC Document 16 Filed 05/15/18 Page 9 of 9




between the parties. Any term or condition which is not expressly stated as part of

this plea agreement is not to be considered part of the agreement.

                                       KURTG.ALME
                                       United States Attorney




                                       ROBERT CRUZ SISNEROS
                                       Defendant
                                       Date: 6 ~    ~
                                                   s-//




(J1/f7 rt! c        Ai~J
                   ).

 CLP      DEF      ATTY                                                     Page 9
